          18-11501-shl           Doc 1             Filed 05/17/18           Entered 05/17/18 23:57:53                   Main Document
                                                                           Pg 1 of 24
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH

 Southern
 BBBBBBBBBBBBBBBBBBBB              New York
                      'LVWULFWRIBBBBBBBBBBBBBBBBB
                                       6WDWH
                                                            7
 &DVHQXPEHU If known BBBBBBBBBBBBBBBBBBBBBBBBB &KDSWHUBBBBB                                                                         &KHFNLIWKLVLVDQ
                                                                                                                                             DPHQGHGILOLQJ




2IILFLDO)RUP
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHdebtor’sQDPHDQGWKHFDVH
QXPEHULINQRZQ)RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH



   Debtor’s name                          SCL USA Inc.
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




   $OORWKHUQDPHVGHEWRUXVHG            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     LQWKHODVW\HDUV                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     ,QFOXGHDQ\DVVXPHGQDPHV
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     WUDGHQDPHVDQG doing business
     as QDPHV                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




   Debtor’s fHGHUDO(PSOR\HU               4 6           5 5 1 6 6 1 0
                                            BBBBBB–BBBBBBBBBBBBBBBBBBBBB
     ,GHQWLILFDWLRQ1XPEHU(,1



   Debtor’s address                       3ULQFLSDOSODFHRIEXVLQHVV                                  0DLOLQJDGGUHVVLIGLIIHUHQWIURPSULQFLSDOSODFH
                                                                                                         RIEXVLQHVV

                                             597 5th Avenue
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            1XPEHU     6WUHHW                                          1XPEHU    6WUHHW


                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                         32%R[

                                             New York                     NY     10017
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            &LW\                       6WDWH   =,3&RGH              &LW\                     6WDWH     =,3 &RGH

                                                                                                         /RFDWLRQRISULQFLSDODVVHWVLIGLIIHUHQWIURP
                                                                                                         SULQFLSDOSODFHRIEXVLQHVV
                                             New York
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            &RXQW\                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                         1XPEHU    6WUHHW

                                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                         &LW\                     6WDWH     =,3 &RGH




   Debtor’s website85/                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


   7\SHRIGHEWRU                         
                                            ✔ &RUSRUDWLRQLQFOXGLQJ/LPLWHG/LDELOLW\&RPSDQ\//&DQG/LPLWHG/LDELOLW\3DUWQHUVKLS//3

                                             3DUWQHUVKLSH[FOXGLQJ//3
                                             2WKHU6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


2IILFLDO)RUP                                 9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                            SDJH
            18-11501-shl                Doc 1   Filed 05/17/18              Entered 05/17/18 23:57:53                      Main Document
                                                                           Pg 2 of 24
'HEWRU
                 SCL USA Inc.
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                              &DVHQXPEHUif knownBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                1DPH



                                            $ Check one:
    'HVFULEH debtor’s EXVLQHVV
                                             +HDOWK&DUH%XVLQHVVDVGHILQHGLQ86&$
                                             6LQJOH$VVHW5HDO(VWDWHDVGHILQHGLQ86&%
                                             5DLOURDGDVGHILQHGLQ86&
                                             6WRFNEURNHUDVGHILQHGLQ86&$
                                             &RPPRGLW\%URNHUDVGHILQHGLQ86&
                                             &OHDULQJ%DQNDVGHILQHGLQ86&
                                            
                                            ✔ 1RQHRIWKHDERYH




                                            % Check all that apply:

                                             7D[H[HPSWHQWLW\DVGHVFULEHGLQ86&
                                             ,QYHVWPHQWFRPSDQ\LQFOXGLQJKHGJHIXQGRUSRROHGLQYHVWPHQWYHKLFOHDVGHILQHGLQ86&
                                                 D
                                             ,QYHVWPHQWDGYLVRUDVGHILQHGLQ86&ED

                                            & 1$,&61RUWK$PHULFDQ,QGXVWU\&ODVVLILFDWLRQ6\VWHPGLJLWFRGHWKDWEHVWGHVFULEHVGHEWRU6HH
                                                KWWSZZZXVFRXUWVJRYIRXUGLJLWQDWLRQDODVVRFLDWLRQQDLFVFRGHV
                                                5    4    1    8
                                                BBBBBBBBBBBB

    8QGHUZKLFKFKDSWHURIWKH            Check one:
      %DQNUXSWF\&RGHLVWKH
      GHEWRUILOLQJ"                        
                                            ✔ &KDSWHU

                                             &KDSWHU
                                             &KDSWHUCheck all that apply
                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   LQVLGHUVRUDIILOLDWHVDUHOHVVWKDQDPRXQWVXEMHFWWRDGMXVWPHQWRQ
                                                                   DQGHYHU\\HDUVDIWHUWKDW
                                                               
                                                                7KHGHEWRULVDVPDOOEXVLQHVVGHEWRUDVGHILQHGLQ86&',IWKH
                                                                   GHEWRULVDVPDOOEXVLQHVVGHEWRUDWWDFKWKHPRVWUHFHQWEDODQFHVKHHWVWDWHPHQW
                                                                   RIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULIDOORIWKHVH
                                                                   GRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ86&%

                                                                  $SODQLVEHLQJILOHGZLWKWKLVSHWLWLRQ

                                                                  $FFHSWDQFHVRIWKHSODQZHUHVROLFLWHGSUHSHWLWLRQIURPRQHRUPRUHFODVVHVRI
                                                                   FUHGLWRUVLQDFFRUGDQFHZLWK86&E

                                                                  7KHGHEWRULVUHTXLUHGWRILOHSHULRGLFUHSRUWVIRUH[DPSOH.DQG4ZLWKWKH
                                                                   6HFXULWLHVDQG([FKDQJH&RPPLVVLRQDFFRUGLQJWRRUGRIWKH6HFXULWLHV
                                                                   ([FKDQJH$FWRI)LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                                   for Bankruptcy under Chapter 112IILFLDO)RUP$ZLWKWKLVIRUP

                                                                  7KHGHEWRULVDVKHOOFRPSDQ\DVGHILQHGLQWKH6HFXULWLHV([FKDQJH$FWRI5XOH
                                                                   E
                                             &KDSWHU
    :HUHSULRUEDQNUXSWF\FDVHV           
                                            ✔ 1R
      ILOHGE\RUDJDLQVWWKHGHEWRU
      ZLWKLQWKHODVW\HDUV"               <HV      'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                  00''<<<<
      ,IPRUHWKDQFDVHVDWWDFKD
      VHSDUDWHOLVW                                    'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                  00''<<<<

   $UHDQ\EDQNUXSWF\FDVHV               1R
      SHQGLQJRUEHLQJILOHGE\D                               See Addendum 1.
      EXVLQHVVSDUWQHURUDQ                
                                            ✔ <HV      'HEWRU BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 5HODWLRQVKLS BBBBBBBBBBBBBBBBBBBBBBBBB
      DIILOLDWHRIWKHGHEWRU"                         'LVWULFW BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB :KHQ            BBBBBBBBBBBBBBBBBB
      /LVWDOOFDVHV,IPRUHWKDQ                                                                                              00  '' <<<<
      DWWDFKDVHSDUDWHOLVW                          &DVHQXPEHULINQRZQ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


2IILFLDO)RUP                               9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                               SDJH 
           18-11501-shl        Doc 1       Filed 05/17/18           Entered 05/17/18 23:57:53                      Main Document
                                                                   Pg 3 of 24
'HEWRU
               SCL USA Inc.
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                       &DVHQXPEHUif knownBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              1DPH




   :K\LVWKHFDVHILOHGLQthis    Check all that apply:
      district"
                                       
                                       ✔ 'HEWRUKDVKDGLWVGRPLFLOHSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKLVGLVWULFWIRUGD\V
                                          LPPHGLDWHO\SUHFHGLQJWKHGDWHRIWKLVSHWLWLRQRUIRUDORQJHUSDUWRIVXFKGD\VWKDQLQDQ\RWKHU
                                          GLVWULFW

                                       
                                       ✔ A bankruptcy case concerning debtor’s afILOLDWHJHQHUDOSDUWQHURUSDUWQHUVKLSLVSHQGLQJLQWKLVGLVWULFW




   'RHVWKHGHEWRURZQRUKDYH      
                                       ✔ 1R
      SRVVHVVLRQRIDQ\UHDO            <HV $QVZHUEHORZIRUHDFKSURSHUW\WKDWQHHGVLPPHGLDWHDWWHQWLRQ$WWDFKDGGLWLRQDOVKHHWVLIQHHGHG
      SURSHUW\RUSHUVRQDOSURSHUW\
      WKDWQHHGVLPPHGLDWH                      :K\GRHVWKHSURSHUW\QHHGLPPHGLDWHDWWHQWLRQ" Check all that appO\
      DWWHQWLRQ"
                                                   ,WSRVHVRULVDOOHJHGWRSRVHDWKUHDWRILPPLQHQWDQGLGHQWLILDEOHKD]DUGWRSXEOLFKHDOWKRUVDIHW\
                                                    :KDWLVWKHKD]DUG"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                   ,WQHHGVWREHSK\VLFDOO\VHFXUHGRUSURWHFWHGIURPWKHZHDWKHU

                                                   ,WLQFOXGHVSHULVKDEOHJRRGVRUDVVHWVWKDWFRXOGTXLFNO\GHWHULRUDWHRUORVHYDOXHZLWKRXW
                                                    DWWHQWLRQIRUH[DPSOHOLYHVWRFNVHDVRQDOJRRGVPHDWGDLU\SURGXFHRUVHFXULWLHVUHODWHG
                                                    DVVHWVRURWKHURSWLRQV

                                                   2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



                                                :KHUHLVWKHSURSHUW\"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                           1XPEHU        6WUHHW

                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBB    BBBBBBBBBBBBBBBB
                                                                           &LW\                                         6WDWH      =,3&RGH


                                                ,VWKHSURSHUW\LQVXUHG"
                                                   1R
                                                   <HV,QVXUDQFHDJHQF\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                         &RQWDFWQDPH     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                         3KRQH             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




            Statistical and administrative information



   'HEWRU’sHVWLPDWLRQRI           Check one:
      DYDLODEOHIXQGV                   )XQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV
                                       
                                       ✔ $IWHUDQ\DGPLQLVWUDWLYHH[SHQVHVDUHSDLGQRIXQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV




                                                                                                  
   (VWLPDWHGQXPEHURI              
                                       ✔                                                         
      FUHGLWRUV
                                                                                             0RUHWKDQ
                                        

                                       
                                       ✔                        PLOOLRQ                  ELOOLRQ
   (VWLPDWHGDVVHWV                                   PLOOLRQ                 ELOOLRQ
                                                        PLOOLRQ                ELOOLRQ
                                        PLOOLRQ              PLOOLRQ               0RUHWKDQELOOLRQ



2IILFLDO)RUP                       9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                SDJH 
18-11501-shl       Doc 1   Filed 05/17/18       Entered 05/17/18 23:57:53     Main Document
                                               Pg 4 of 24

    SCL USA Inc.

                                                       ✔




                                       05/17/2018




                                Director




                                                                            05/17/2018




                            Adam C. Harris

                            Schulte Roth & Zabel LLP

                            919 Third Avenue

                            New York                                 NY           10022


                            212-756-2000                              adam.harris@srz.com



                            2124105                                  NY
   18-11501-shl          Doc 1      Filed 05/17/18         Entered 05/17/18 23:57:53                Main Document
                                                          Pg 5 of 24


    81,7('67$7(6%$1.5837&<&2857
    6287+(51',675,&72)1(:<25.


    ,QUH                                                          &KDSWHU

    6&/86$,1&                                                    &DVH1RBBBBBBBBBBB

                             'HEWRU



                             $''(1'807292/817$5<3(7,7,21)25
                             121,1',9,'8$/6),/,1*)25%$1.5837&<

                    $VRIWKHGDWHVVHWIRUWKEHORZHDFKRIWKH'HEWRU
VDIILOLDWHVOLVWHGEHORZKDYHD
    EDQNUXSWF\FDVHRUVLPLODUSURFHHGLQJSHQGLQJLQWKLV&RXUWRULQDQRWKHUFRXUWOLVWHGEHORZDV
    DSSOLFDEOH

'HEWRU                     5HODWLRQVKLS        'LVWULFW&RXUW                       'DWH                  &DVH1XPEHU
                            WR'HEWRU

&DPEULGJH$QDO\WLFD $IILOLDWH                  6RXWKHUQ'LVWULFWRI1HZ              0D\
//&                                             <RUN

6&/*URXS/LPLWHG          $IILOLDWH           7KH+LJK&RXUWRI-XVWLFH            0D\           &5
                                                 %XVLQHVVDQG3URSHUW\
                                                 &RXUWVRI(QJODQGDQG
                                                 :DOHVDQG,QVROYHQF\DQG
                                                 &RPSDQLHV/LVW&K'

6&/$QDO\WLFV              $IILOLDWH           7KH+LJK&RXUWRI-XVWLFH            0D\           &5
/LPLWHG                                         %XVLQHVVDQG3URSHUW\
                                                 &RXUWVRI(QJODQGDQG
                                                 :DOHVDQG,QVROYHQF\DQG
                                                 &RPSDQLHV/LVW&K'

6&/&RPPHUFLDO             $IILOLDWH           7KH+LJK&RXUWRI-XVWLFH            0D\           &5
/LPLWHG                                         %XVLQHVVDQG3URSHUW\
                                                 &RXUWVRI(QJODQGDQG
                                                 :DOHVDQG,QVROYHQF\DQG
                                                 &RPSDQLHV/LVW&K'



    
     7KHODVWIRXUGLJLWVRIWKH'HEWRU¶VWD[SD\HULGHQWLILFDWLRQQXPEHULVDQGWKHDGGUHVVRILWVSULQFLSDOSODFHRI
    EXVLQHVVLVWK$YHQXH1HZ<RUN1HZ<RUN
   18-11501-shl       Doc 1    Filed 05/17/18    Entered 05/17/18 23:57:53    Main Document
                                                Pg 6 of 24


6&/6RFLDO/LPLWHG     $IILOLDWH      7KH+LJK&RXUWRI-XVWLFH   0D\   &5
                                        %XVLQHVVDQG3URSHUW\
                                        &RXUWVRI(QJODQGDQG
                                        :DOHVDQG,QVROYHQF\DQG
                                        &RPSDQLHV/LVW&K'

6&/(OHFWLRQV          3DUHQW         7KH+LJK&RXUWRI-XVWLFH   0D\   &5
/LPLWHG                                %XVLQHVVDQG3URSHUW\
                                        &RXUWVRI(QJODQGDQG
                                        :DOHVDQG,QVROYHQF\DQG
                                        &RPSDQLHV/LVW&K'

&DPEULGJH              $IILOLDWH      7KH+LJK&RXUWRI-XVWLFH   0D\   &5
$QDO\WLFD8.                          %XVLQHVVDQG3URSHUW\
/LPLWHG                                &RXUWVRI(QJODQGDQG
                                        :DOHVDQG,QVROYHQF\DQG
                                        &RPSDQLHV/LVW&K'




     
                                                   
18-11501-shl   Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                        Pg 7 of 24




                                            
18-11501-shl   Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                        Pg 8 of 24
18-11501-shl   Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                        Pg 9 of 24
 18-11501-shl               Doc 1          Filed 05/17/18              Entered 05/17/18 23:57:53                              Main Document
                                                                      Pg 10 of 24
%)RUP




                                      8QLWHG6WDWHV%DQNUXSWF\&RXUW
                                        BBBBBBBBBBBBBBB'LVWULFW2IBBBBBBBBBBBBBBB
                                        Southern                    New York


,QUH      4$-64"*/$
                                                                                                &DVH1RBBBBBBBBBBBBBBBBBBB

'HEWRU                                                                                                  7
                                                                                                &KDSWHUBBBBBBBBBBBBBBBBBBBB

                        ',6&/2685(2) &203(16$7,212)$77251(<)25'(%725

   3XUVXDQWWR86&DDQG)HG%DQNU3E,FHUWLI\WKDW,DPWKHDWWRUQH\IRUWKHDERYH
     QDPHGGHEWRUVDQGWKDWFRPSHQVDWLRQSDLGWRPHZLWKLQRQH\HDUEHIRUHWKHILOLQJRIWKHSHWLWLRQLQ
     EDQNUXSWF\RUDJUHHGWREHSDLGWRPHIRUVHUYLFHVUHQGHUHGRUWREHUHQGHUHGRQEHKDOIRIWKHGHEWRUVLQ
     FRQWHPSODWLRQRIRULQFRQQHFWLRQZLWKWKHEDQNUXSWF\FDVHLVDVIROORZV

     )RUOHJDOVHUYLFHV,KDYHDJUHHGWRDFFHSW BBBBBBBBBBBBBB
                                                                                                              30,000.00

     3ULRUWRWKHILOLQJRIWKLVVWDWHPHQW,KDYHUHFHLYHG BBBBBBBBBBBBBB
                                                                                                             30,000.00

     %DODQFH'XHBBBBBBBBBBBBBB
                                                                                                                              0

   7KHVRXUFHRIWKHFRPSHQVDWLRQSDLGWRPHZDV

                'HEWRU                          ✔    2WKHUVSHFLI\ &NFSEBUB-JNJUFE

   7KHVRXUFHRIFRPSHQVDWLRQWREHSDLGWRPHLV

                                                ✔
                'HEWRU                               2WKHUVSHFLI\ &NFSEBUB-JNJUFE

           ✔
            ,KDYHQRWDJUHHGWRVKDUHWKHDERYHGLVFORVHGFRPSHQVDWLRQZLWKDQ\RWKHUSHUVRQXQOHVVWKH\DUH
           PHPEHUVDQGDVVRFLDWHVRIP\ODZILUP

              ,KDYHDJUHHGWRVKDUHWKHDERYHGLVFORVHGFRPSHQVDWLRQZLWKDRWKHUSHUVRQRUSHUVRQVZKRDUHQRW
           PHPEHUVRUDVVRFLDWHVRIP\ODZILUP$FRS\RIWKHDJUHHPHQWWRJHWKHUZLWKDOLVWRIWKHQDPHVRIWKH
           SHRSOHVKDULQJLQWKHFRPSHQVDWLRQLVDWWDFKHG

   ,QUHWXUQ IRUWKHDERYHGLVFORVHG IHH ,KDYH DJUHHGWRUHQGHUOHJDOVHUYLFHIRU WKHIROORZLQJDVSHFWVRIWKH
     EDQNUXSWF\FDVH

     D    5HQGHULQJDGYLFHWRWKHGHEWRULQGHWHUPLQLQJ ZKHWKHUWRILOHDSHWLWLRQLQEDQNUXSWF\


     E    3UHSDUDWLRQDQGILOLQJRIDQ\SHWLWLRQVFKHGXOHVVWDWHPHQWVRIDIIDLUVDQGSODQZKLFKPD\EHUHTXLUHG

     F    5HSUHVHQWDWLRQRIWKH GHEWRUDWWKH PHHWLQJRIFUHGLWRUVDQGFRQILUPDWLRQKHDULQJDQGDQ\
           DGMRXUQHGKHDULQJVWKHUHRIDQG
 18-11501-shl           Doc 1       Filed 05/17/18         Entered 05/17/18 23:57:53                   Main Document
                                                          Pg 11 of 24
%)RUP

     G   >2WKHUSURYLVLRQVDVQHHGHG@




   %\DJUHHPHQWZLWKWKHGHEWRUVWKHDERYHGLVFORVHGIHHGRHVQRWLQFOXGHWKHIROORZLQJVHUYLFHV
      3FQSFTFOUBUJPOPGUIFEFCUPSJOBOZEJTDIBSHFBCJMJUZBDUJPOTKVEJDJBMMJFOBWPJEBODFT
      SFMJFGGSPNTUBZBDUJPOTBOZMJUJHBUJPOPSBOZBEWFSTBSZQSPDFFEJOH




                                                      &(57,),&$7,21

              ,FHUWLI\WKDWWKHIRUHJRLQJLVDFRPSOHWHVWDWHPHQWRIDQ\DJUHHPHQWRUDUUDQJHPHQWIRUSD\PHQWWR
           PHIRUUHSUHVHQWDWLRQRIWKHGHEWRUVLQWKLVEDQNUXSWF\SURFHHGLQJ

           05/17/2018
           BBBBBBBBBBBBBBBBBBBBBB               /s/ Adam C. Harris
           Date                                     Signature of Attorney

                                                Schulte Roth & Zabel LLP
                                                    Name of law firm
18-11501-shl         Doc 1      Filed 05/17/18        Entered 05/17/18 23:57:53                 Main Document
                                                     Pg 12 of 24


81,7('67$7(6%$1.5837&<&2857
6287+(51',675,&72)1(:<25.


,QUH                                                          &KDSWHU

6&/86$,1&                                                    &DVH1RBBBBBBBBBBB

                         'HEWRU



                              &25325$7(2:1(56+,367$7(0(17

   3XUVXDQWWR)HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUHDDQGDQG/RFDO
%DQNUXSWF\5XOHIRUWKH6RXWKHUQ'LVWULFWRI1HZ<RUNDQGWRHQDEOHWKH-XGJHVWR
HYDOXDWHSRVVLEOHGLVTXDOLILFDWLRQRUUHFXVDOWKHXQGHUVLJQHGIRU6&/86$,QFWKH&RPSDQ\
FHUWLILHVWKDWWKHIROORZLQJDUHHQWLWLHVRWKHUWKDQWKH&RPSDQ\RUDJRYHUQPHQWDOXQLWWKDW
GLUHFWO\RULQGLUHFWO\RZQRUPRUHRIDQ\FODVVRIWKH&RPSDQ\
VHTXLW\LQWHUHVWV

           (QWLW\                                     $GGUHVV                                    2ZQHUVKLS

6&/(OHFWLRQV/LPLWHG          &R3NI/LWWOHMRKQQG)ORRU                              GLUHFWLQWHUHVW
                                :HVWIHUU\&LUFXV
                                &DQDU\:KDUI
                                /RQGRQ
                                8QLWHG.LQJGRP
                                (+'
(PHUGDWD/LPLWHG               &R3NI/LWWOHMRKQQG)ORRU                              LQGLUHFWLQWHUHVW
                                :HVWIHUU\&LUFXV
                                &DQDU\:KDUI
                                /RQGRQ
                                8QLWHG.LQJGRP
                                (+'
6&/$QDO\WLFV/LPLWHG          &R3NI/LWWOHMRKQQG)ORRU                              LQGLUHFWLQWHUHVW
                                :HVWIHUU\&LUFXV
                                &DQDU\:KDUI
                                /RQGRQ
                                8QLWHG.LQJGRP
                                (+'
6&/*URXS/LPLWHG              &R3NI/LWWOHMRKQQG)ORRU                              LQGLUHFWLQWHUHVW
                                :HVWIHUU\&LUFXV
                                &DQDU\:KDUI
                                /RQGRQ
                                8QLWHG.LQJGRP
                                (+'


 7KHODVWIRXUGLJLWVRIWKH'HEWRU¶VWD[SD\HULGHQWLILFDWLRQQXPEHULVDQGWKHDGGUHVVRILWVSULQFLSDOSODFHRI
EXVLQHVVLVWK$YHQXH1HZ<RUN1HZ<RUN
18-11501-shl     Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53    Main Document
                                          Pg 13 of 24


&DPEULGJH$QDO\WLFD     &R7KH&RUSRUDWLRQ7UXVW&RPSDQ\         LQGLUHFWLQWHUHVW
+ROGLQJV//&            &RUSRUDWLRQ7UXVW&HQWHU
                         2UDQJH6WUHHW
                         :LOPLQJWRQ'(
$OH[DQGHU1L[           6W-DPHV
V6TXDUH                     LQGLUHFWLQWHUHVW
                         /RQGRQ
                         8QLWHG.LQJGRP
                         6:<5%


'DWH0D\BBBBB                  BBBBBBBBBVJulian WheatlandBBBBBBBBBB
                                                         'LUHFWRU




                                              
          18-11501-shl               Doc 1         Filed 05/17/18        Entered 05/17/18 23:57:53                     Main Document
                                                                        Pg 14 of 24
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVHDQGWKLVILOLQJ


                6&/ 86$ ,1&
 'HEWRU1DPHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            6RXWKHUQ                            1HZ <RUN
 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH BBBBBBBBBBBBBBBBBBBBBB 'LVWULFWRIBBBBBBBBBB
                                                                                6WDWH
 &DVHQXPEHUIf known    BBBBBBBBBBBBBBBBBBBBBBBBB




2IILFLDO)RUP
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    

$QLQGLYLGXDOZKRLVDXWKRUL]HGWRDFWRQEHKDOIRIDQRQLQGLYLGXDOGHEWRUVXFKDVDFRUSRUDWLRQRUSDUWQHUVKLSPXVWVLJQDQGVXEPLW
WKLVIRUPIRUWKHVFKHGXOHVRIDVVHWVDQGOLDELOLWLHVDQ\RWKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQWKDWLVQRWLQFOXGHGLQWKHGRFXPHQW
DQGDQ\DPHQGPHQWVRIWKRVHGRFXPHQWV7KLVIRUPPXVWVWDWHWKHLQGLYLGXDO¶VSRVLWLRQRUUHODWLRQVKLSWRWKHGHEWRUWKHLGHQWLW\RIWKH
GRFXPHQWDQGWKHGDWH%DQNUXSWF\5XOHVDQG

:$51,1*%DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWFRQFHDOLQJSURSHUW\RUREWDLQLQJPRQH\RUSURSHUW\E\IUDXGLQ
FRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRULPSULVRQPHQWIRUXSWR\HDUVRUERWK86&
DQG



            Declaration and signature



         ,DPWKHSUHVLGHQWDQRWKHURIILFHURUDQDXWKRUL]HGDJHQWRIWKHFRUSRUDWLRQDPHPEHURUDQDXWKRUL]HGDJHQWRIWKHSDUWQHUVKLSRU
         DQRWKHULQGLYLGXDOVHUYLQJDVDUHSUHVHQWDWLYHRIWKHGHEWRULQWKLVFDVH

         ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKHGRFXPHQWVFKHFNHGEHORZDQG,KDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQGFRUUHFW


             Schedule A/B: Assets–Real and Personal Property2IILFLDO)RUP$%

             Schedule D: Creditors Who Have Claims Secured by Property2IILFLDO)RUP'

             Schedule E/F: Creditors Who Have Unsecured Claims2IILFLDO)RUP()

             Schedule G: Executory Contracts and Unexpired Leases2IILFLDO)RUP*

             Schedule H: Codebtors 2IILFLDO)RUP+

             Summary of Assets and Liabilities for Non-Individuals2IILFLDO)RUP6XP

             $PHQGHG ScheduleBBBB


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders2IILFLDO)RUP


         
         ✔                                              &RUSRUDWH 2ZQHUVKLS 6WDWHPHQW
              2WKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




        ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

                     
        ([HFXWHGRQ BBBBBBBBBBBBBB                         8   /s/ Julian Wheatland
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                           00''<<<<                        6LJQDWXUHRILQGLYLGXDOVLJQLQJRQEHKDOIRIGHEWRU



                                                                  $GDP & +DUULV
                                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                 3ULQWHGQDPH

                                                                  'LUHFWRU
                                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                 3RVLWLRQRUUHODWLRQVKLSWRGHEWRU



2IILFLDO)RUP                             'HFODUDWLRQ8QGHU3HQDOW\RI3HUMXU\IRU1RQ,QGLYLGXDO'HEWRUV
18-11501-shl         Doc 1      Filed 05/17/18        Entered 05/17/18 23:57:53                 Main Document
                                                     Pg 15 of 24


81,7('67$7(6%$1.5837&<&2857
6287+(51',675,&72)1(:<25.


,QUH                                                          &KDSWHU

6&/86$,1&                                                    &DVH1RBBBBBBBBBBB

                         'HEWRU



                              9(5,),&$7,212)&5(',7250$75,;


         ,WKH'LUHFWRURIWKHGHEWRULQWKHDERYHFDSWLRQHGFDVHKHUHE\YHULI\WKDWWKHDWWDFKHG
OLVWRIFUHGLWRUVLVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJH




'DWH0D\                           BBBBBBBBBVJulian WheatlandBBBBBBBBBB
                                                                    'LUHFWRU





 7KHODVWIRXUGLJLWVRIWKH'HEWRU¶VWD[SD\HULGHQWLILFDWLRQQXPEHULVDQGWKHDGGUHVVRILWVSULQFLSDOSODFHRI
EXVLQHVVLVWK$YHQXH1HZ<RUN1HZ<RUN
  18-11501-shl    Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                           Pg 16 of 24



597ScribnerLLC
597FifthAvenue
NewYork,NY10017

AdrianaGlover
2274Broadway
NewYork,NY10024

AllisonFoley
5505WoodsideAve#415
Woodside,NY11377

AndreaCrino
301East35thStreet
#5A
NewYork,NY10016

AT&T
POBox537104
Atlanta,GA30353

AtlanticHVAC
44EastMainSt
Pawling,NY12564

CambridgeAnalyticaLLC
5975thAvenue
NewYork,NY10017

CesarQuinza
CaminoDeSta.Teresa890Torre3
Depto302
HeroesdePadiemaCiudaddeMexico
Mexico10740

COGENTCOMMUNICATIONS
326thAvenue
NewYork,NY10013

CollinsIsaac
Av.LudwigVanBeethoven5035A
LaEstanciaZapopan
Jalisco
MexicoCP45030

ConEdison
CooperStation
POBox138
  18-11501-shl   Doc 1    Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                           Pg 17 of 24



NewYork,NY10276

CSC
25LittleFallsDrive
Wilmington,DE19808

CTCorporation
1209NOrangeSt
Wilmington,DE19801

DanielFrederickNazareth
320E50thSt
Apt4R
NewYork,NY10003

DATORAMAINC
30IrvingPl
NewYork,NY10003

DCREGISTEREDAGENTINC
112020thStNW
Washington,DC20036

DGASecuritySystems,Inc.
429West53rdSt
NewYork,NY10019

DoximityInc.
5003rdSt
Suite510
SanFrancisco,CA94107

Dun&bradstreet
1ForestPkwy
Shelton,CT06484

DylanAllen
1011ArlingtonBlvdNE538
Arlington,VA22209

EMinutes
12121WilshireBlvd.
Suite1201
LosAngeles,CA90025

EADesign
320NevadaSt
#401
                                            Page2
  18-11501-shl     Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                            Pg 18 of 24



Newton,MA02460

Edenred
320NevadaSt
#401
Newton,MA02460

EdwardDenicola
73RiverdaleAveE
TintonFalls,NJ07724

ElliottM.Sibers
TheAttorneyGeneralofNewJersey
NewJerseyDivisionofConsumerAffairs
124HalseySt.,5thFloor,POBox45029
Newark,NJ07101

EResidentAgent
12121WilshireBlvd
Ste1111
LosAngeles,CA90025

Facebook
11HackerWay
MenloPark,CA94025

FedEx
7900LegacyDrive
Plano,TX75024

Golub,LaCapra,Wilson&DeTiberiis,LLP
2RooseveltAvenue
PortJeffersonStation,NY11776

GOOGLE
1600AmphitheatreParkway
MountainView,CA94043

GREENBERGTRAURING
200ParkAvenue,
NewYork,NY10166

GrossbergYochelsonFoxBeda
1200NewHampshireAveNW
Suite#555
Washington,DC20036

GTTCOMMUNICATIONSINC
                                             Page3
  18-11501-shl   Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                          Pg 19 of 24



OnePennPlaza
Suite1005
NewYork,NY10119

HudsonPhillips
471/2East1stStreet
Apt4R
NewYork,NY10003

JeffS.Jordan
FederalElectionCommission
1050FirstStreet,NE
Washington,DC20463

JMResearchSolutionsLLC
725ColemanBlvd
#201
MtPleasant,SC29464

KentS.Ray
CookCountyState’sAttorney’sOffice
69WestWashingtonSt.,Suite3130
Chicago,IL60602

KieranWard
200East39thStreet
Apt902
NewYork,NY10016

JonathanJ.Blake
AssistantAttorneyGeneral
OfficeoftheAttorneyGeneral,StateofConnecticut
110ShermanStreet
Hartford,CT06105

LanaFastovsky
306W73dSt
Apt2A
NewYork,NY10023

LaquanAustion
23CarlsbedDR
Strafford,VA22554

LauraColonŞMelendez
142WoodbineSt
Brooklyn,NY11221

                                           Page4
  18-11501-shl   Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                          Pg 20 of 24



M3GlobalResearch
501OfficeCenterDrive
Suite410
FortWashington,PA19034

MangiaŞMadPlayaVista
422MadisonAve
NewYork,NY10017

MatasAnuzis
909NewJerseyAveSE517
Washington,DC20003

MatthewAtkinson
1800NOakStApt204
Arlington,VA22209

MathewMeyhofer
U.S.SecuritiesandExchangeCommission
44MontgomeryStreet,Suite2800
SanFrancisco,CA94104

MediaAnalyticsLLC
14WChestnutSt
WestChester,PA19389

MetropolitanBuildersofNY
5030Broadway
Suite671
NewYork,NY10034

MichaelMastrianna
635NorthVermontStreet
Arlington,VA22203

MicrosoftAzure
MicrosoftCorporation
OneMicrosoftWay
Redmond,WA98052

MIGGLOBALLTD
TheWoolyard
54BermondseyStreet
London,SE13UD
UnitedKingdom

MilbankTweedHadley&McCloy
28LibertyPlaza
                                           Page5
  18-11501-shl     Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                            Pg 21 of 24



NewYork,NY10005

MOBILEWIRELESS
Addressunknown

NETVIGOUR
P.O.box86
ForestHill,MD21050

NewswireAssoc
350HudsonSt
#300
NewYork,NY10014

NicoleRogers
401E50thStreet
NewYork,NY10035

NinthDecimalInc.
150PostStreet
Suite500
SanFrancisco,CA94025

OfficeoftheAttorneyGeneral
CommonwealthofMassachusetts
OneAshburtonPlace
Boston,MA02108Ş1518

OpenSourceBusinessInc.
137West25thSt
11thFloor
NewYork,NY10001

OpinionAccess
1979MarcusAvenue
Suite210
LakeSuccess,NY11042

PERISCOPE
921WashingtonAveS.
Minneapolis,MN55415

PeterJones
66West77thSt
Apt66
NewYork,NY10024

PilotFiber
                                             Page6
  18-11501-shl     Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                            Pg 22 of 24



325HudsonStreet
NewYork,NY10013

RachelKania
115HavanaStreet
#B
Austin,TX78704

RafaelOller
11271VenturaBlvd
#523
StudioCity,CA91604

ReddyYasa
2606WildberryCt
Edison,NJ08817

ResearchNow
5800TennysonPkwy
#600
Plano,TX75024

Rev
251KearnySt
8thFl
SanFrancisco,CA94108

RicardoBurneo
51243rdStreet
UnionCity,NJ07087

RobertWaltersOperationsLtd
7TimesSquare
#4301
NewYork,NY10036

RodFoster
401LeisureWay
Richmond,KY40475

SCLSocialLimited
C/oPkfLittlejohn2ndFloor
1WestferryCircus
CanaryWharf,LondonE144HD,
UnitedKingdom

SCLElectionsLimited
C/OPkfLittlejohn2ndFloor
                                             Page7
  18-11501-shl     Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                            Pg 23 of 24



1WestferryCircus
CanaryWharf,London,E144HD,
UnitedKingdom

SpectrumBuildingServicesInc
300East42ndStreet
NewYork,NY10017

SpectrumBusiness
43West23rdSt
NewYork,NY10010

SprintWireless
POBox4191
CarolStream,IL60197Ş4191

StanleySpring
649ManhattanAve
Apt3A
Brokklyn,NY11222

SymoneWong
13854230thPlace
Laurelton,NY11413

Target.Com
1000NicolletMall
MallMinneapolis,MN55403

TedA.Berkowitz
AssistantAttorneyGeneral
NYSOfficeoftheAttorneyGeneral
28LibertyStreet
NewYork,NY10005

THEHARTFORDCOMPANY
690AsylumAvenue
Hartford,CT06155

TheHonorableJohnThune
UnitedStatesSenateCommerceCommittee
405HartSenateBuilding
Washington,DC20510

ThomasFinkle
338WindingWay
Merion,PA19066

                                             Page8
  18-11501-shl     Doc 1   Filed 05/17/18    Entered 05/17/18 23:57:53   Main Document
                                            Pg 24 of 24



ThomasJackson
2866thAve
Apt12
NewYork,NY10014

Travellers
76ProgressDr
#206
Stamford,CT06902

TTSMedia
358FifthAvenue
NewYork,NY10001

TwitterInc
1355MarketSt
#900
SanFrancisco,CA94103

Verizon
P.O.Box15124
Albany,NY12212Ş5124

WashREIT
C/oMagruderCook&Koutsoufitkis
1889PrestonWhiteDrive
Suite200
Reston,VA20191

WesleyDunlap
15514thSt
Apr3R
Hoboken,NJ07030

WHITE&CASE
12216thAve
NewYork,NY10020

WiredCommute
329NevadaSt
Suite401
Newton,MA02460




                                             Page9
